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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 18-20989-CR-ALTMAN(s)

  UNITED STATES OF AMERICA,
            Plaintiff,

  v.

  RAOUL DOEKHIE, et al.,

                 Defendants.
                                               /

               CERTIFICATE OF COMPLIANCE RE ADMITTED EVIDENCE

         I, Shannon Shaw, Assistant United States Attorney for the Southern District of Florida, and
  counsel for the United States of America, hereby certify the following:

         The attached itemized list of admitted exhibits are filed with the Clerk of Court on a CD
  pursuant to the Court’s order and are exempt from mandatory electronic filing pursuant to Local
  Rule 5.3(b)(3).

          Any original exhibits that have been returned to or retained by the filing party after filing
  shall be kept for safe keeping until the conclusion of any appeals. Upon order of court, the filing
  party agrees to return the original exhibits to the Clerk of Court.


                                                                                  5/31/2022
  Signature: ______________________                                    Date: ___________________
            Shannon Shaw, AUSA
